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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 UNITED STATES OF AMERICA                                   §
                                                            §   CASE NO. 4:23-CR-218-2
 vs.                                                        §
                                                            §
 (2) DHIRENKUMAR VISHNUBHAI PATEL                           §

                                              ORDER

       Defendant Dhirenkumar Vishnubhai Patel pleaded guilty to Count One of the Superseding

Criminal Information. Count One charged Defendant with conspiracy to commit mail fraud in

violation of 18 U.S.C. § 371. In his Plea Agreement, Defendant agreed to pay restitution to the

victim(s) of his offense regardless of the count(s) of conviction. Defendant also agreed, through

his attorney, to liquidate and apply to restitution certain assets that had been seized from around at

or near the time of his arrest and had been named for forfeiture but were being returned to him by

the government for the express purpose of being applied to restitution.

       To facilitate these agreements of the parties, the Court will authorize Defendant or his

counsel to deposit cashier’s checks or money orders into the Court’s Registry. Any such payments

should be made payable to “Clerk, U.S. District Court” and brought to 515 Rusk or mailed to P.O.

Box 61010, Houston, Texas 77208. The case number 4:23-CR-218-02 and Defendant’s full name

(Dhirenkumar Vishnubhai Patel) should be included on the cashier’s check or money order so that

proper credit will be received.

       The Court, therefore, ORDERS that the U.S. District Court Clerk is authorized to accept

funds deposited by or on behalf of Defendant Dhirenkumar Vishnubhai Patel and to hold them in

the Court’s Registry pending further order of this Court.

       Signed on _______________________________, 2024.


                                               _________________________
                                               Andrew S. Hanen
                                               United States District Judge
